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 7

 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11
                                                   )
12                                                 ) Case No: 3:21-CR-00374-MMC
     UNITED STATES OF AMERICA,                     )
13                                                 )
                    Plaintiff,                     )  MOTION TO SUPPRESS OUT OF
14                                                 )  COURT IDENTIFICATIONS AND
            vs.                                    )  DERIVATIVE IN-COURT
15                                                 )  IDENTIFICATIONS
     JOSEPH HUFFAKER,                              )
16                                                 )
                    Defendant.                     )
17                                                 )
                                                   )
18                                                 )

19

20          Defendant, Joseph Huffaker (“Huffaker”), through his counsel William J. Edelman,
21   moves to suppress out-of-court identifications based on photo presentations to witnesses other
22   than co-Defendant Brendan Tatum (“Tatum”) on the grounds that the procedures used in the
23   identifications were impermissibly suggestive and unreliable in violation of Huffaker’s due
24   process rights under the Fourteenth Amendment. E.g., United States v. Montgomery, 150 F.3d
25   983, 992 (9th Cir. 1998).
26   I.     BACKGROUND
27          Huffaker is charged in a Superseding Indictment (ECF No. 108.) This case involves
28   allegations that, in 2017, police officers with the Rohnert Park Department of Public Safety
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 1   (RPDPS) extorted motorists by pulling them over under the guise of official authority, and then

 2   stole money and/or marijuana from the motorists after threatening them with arrest. Id. In

 3   addition, the operative indictment alleges that the officers conspired to and did falsify records

 4   related to the stop(s) after a federal investigation had started, falsely identified themselves as

 5   federal agents during at least one stop, and conspired to engage all of those crimes. Id.

 6           The gist of the government’s case is that the co-defendant who has already pled guilty

 7   and is awaiting sentencing (Brendan Tatum) – a supervisor at RPDPS at the time of the alleged

 8   crimes -- orchestrated the extortion scheme, while the defendant here (Huffaker) was a line-level

 9   officer involved in a very small number of Tatum’s admittedly prodigious extortionate traffic

10   stops. No other officers have been charged by the government besides supervisor Tatum and

11   Huffaker.1 In sum, despite Tatum’s admittedly extensive criminal conduct stretching over three

12   years and supposedly involving at least three subordinate officers, this case now involves only

13   Huffaker and his supposed role in two traffic stops (and conduct related to those stops) over a

14   two-week period in December 2017. The two traffic stops at issued allegedly occurred on (i)

15   December 5, 2017, and (ii) December 18, 2017.

16          The government’s theory is that Huffaker was present at both traffic stops and engaged in

17   conduct consistent with the alleged extortion scheme. The government’s evidence that Huffaker

18   was present at those stops, however, boils down to (i) potential testimony from Tatum, who has

19   pled guilty, and (ii) alarmingly late, sloppy, poorly documented, and facially improper

20   photographic identification procedures involving witnesses at the two stops. Huffaker is not at

21   this time seeking to suppress any testimony from Tatum. Rather, Huffaker moves to suppress

22   the improper, suggestive, and unreliable identifications made by other witnesses.

23
     1
24     The Superseding Indictment specifically includes counts for (1) conspiracy to commit extortion
     under official right (December 5-18, 2017), 18 U.S.C. § 1951; (2) extortion under official right
25   regarding a December 5, 2017 traffic stop, 18 U.S.C. §§ 1951, 2; (3) extortion under official
     right regarding a December 18, 2017 traffic stop, 18 U.S.C. §§ 1951; (4) conspiracy to falsify
26
     records regarding the two December 2017 traffic stops, 18 U.S.C. § 371; (5) falsifying records
27   regarding a December 2017 traffic stop, 18 U.S.C. §§ 1519, 2; (6) conspiracy to impersonate a
     federal officer on the December 5 and 18, 2017 traffic stops, 18 U.S.C. § 371); (7) impersonating
28   a federal officer on the December 18, 2017 traffic stop, 18 U.S.C. §§ 912, 2.
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 1   II.    LEGAL STANDARD

 2          Suggestive pretrial identification procedures may be so impermissibly suggestive as to

 3   taint subsequent in-court identifications and thereby deny a defendant due process of law. United

 4   States v. Love, 746 F.2d at 478. To determine whether a challenged identification procedure is so

 5   impermissibly suggestive as to give rise to a substantial likelihood of mistaken identification, the

 6   court must examine the totality of the surrounding circumstances. See Simmons v. United

 7   States, 390 U.S. 377, 384, (1968) (photographic array); Stovall v. Denno, 388 U.S. 293, 301–02,

 8   87 S.Ct. 1967, 1972, (1967) (one-on-one confrontation); United States v. Love, 746 F.2d at 478–

 9   79 (photographic array); United States v. Kessler, 692 F.2d 584, 585 (9th Cir.1982) (one-on-one

10   confrontation). An identification procedure is suggestive when it “emphasize[s] the focus upon a

11   single individual” thereby increasing the likelihood of misidentification. United States v.

12   Montgomery, 150 F.3d 983, 992 (9th Cir. 1998). “The Due Process Clause requires courts to

13   assess, on a case-by-case basis, whether improper police conduct created a ‘substantial likelihood

14   of misidentification. Reliability[of the eyewitness identification is the linchpin’ of that

15   evaluation. United States v. Moss, No. CR 13-0790 PJH, 2014 WL 1349494, at *1 (N.D. Cal.

16   Apr. 4, 2014) (internal quotation marks and citations omitted).

17   III.   ARGUMENT

18          A.      December 5, 2017 Stop: Witness E.F..

19          The critical evidence identifying Huffaker as being present at the December 5, 2017

20   traffic stop is a witness identification made by alleged victim E.F. That identification is based

21   on photographs presented to E.F. by the FBI on or about May 8, 2019. To be clear, that

22   “identification” occurred 17 months after the alleged December 2017 stop. See Decl. of William

23   J. Edelman (“Edelman Decl.”), Ex. 1.2

24          During that identification “procedure,” an FBI Agent showed E.F. only four photographs.

25   See Edelman Decl., Ex. 2. The FBI report memorializing this “procedure” is devoid of what

26   should be routine statements regarding proper photograph-based identifications. For example, the

27   report memorializes no admonishments given to E.F. about the dangers of mis-identifying a

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 1   witness, nor discouraging a witness from picking a photograph in the absence of confidence. In

 2   addition, the report does not even attempt to suggest that an effort was made to select

 3   photographs of individuals who looked basically similar. Indeed, the report does not describe at

 4   all the how the photographs were presented, nor any details at all about statements made to the

 5   witness before and while the witness was looking at the photos, nor verbatim accounts of E.F.’s

 6   reactions and statements about the photographs.

 7          The (only) four photos presented are not similar. Id. Three of the individuals appear to

 8   be white (#1-#3), while the fourth is darker skinned of an unknown race. Two are bald or have a

 9   shaved head (#3-#4), while one has very short-cropped hair (#2) and the other (Huffaker, #1) is

10   the only individual with a longer hairstyle. In terms of facial hair, all of the individuals besides

11   Huffaker (i.e., #2-4) have what could be described as stubble or very-closely-shaved facial hair.

12   By contrast, Huffaker is the only person presented with a full beard and mustache. Id.

13          Worse, other circumstances cast extreme doubt on the reliability of the stale

14   identification. According to the (admittedly confusing) FBI report documenting this May 2019

15   “identification” by E.F. of the two officers present at the December 5, 2017 traffic stop, E.F.

16   stated that: (i) one of the two officers present was the then-Chief of the Hopland Police

17   Department (S.H:), who was not even presented as part of the photo lineup; (ii) Huffaker was the

18   other officer present; (iii) the officer who E.F. believed was the Hopland Chief also looked

19   similar to one of the people in the photographs (Snodgrass); and (iv) E.F. knew the name of

20   another officer in a photograph (Tatum) because of E.F.’s extensive investigation and research

21   into the case, but E.F. did not believe that Tatum was present at the stop. The last point is

22   critical, because it underscores that by the time the FBI conducted this photo lineup 17 months

23   later, press stories that E.F. was closely following had already been published mentioning

24   Huffaker by name (Edelman Decl. Ex. 3) as someone potentially linked to the stop because his

25   name appeared in associated records. Worse, E.F. had already filed a civil lawsuit in March

26   2019 naming Huffaker as a defendant present at the December 5 stop (Edelman Decl., Ex. 4). In

27   sum, this “identification” was no investigative procedure at all, but a biased affirmation of a

28   conclusion already expressed by E.F. based on extensive, unclear investigation with unknown

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 1   biases.

 2             B.     December 18, 2017 Stop: Witness CHP Officer Simas

 3             According to the government, the second stop involved a victim B.L. who was stopped

 4   by Huffaker and Tatum. Aside from potentially testimony from Tatum (who has pled guilty), the

 5   evidence placing Huffaker at the scene was an identification by CHP Officer (Simas) who

 6   happened upon the traffic stop and stopped to “back-up” the officers already on the stop. CHP

 7   Officer Simar was presented with a set of five photographs three and a half years after the

 8   December 18, 2017 stop. Edelman Decl., Ex. 5.

 9             This identification “procedure” was no procedure at all and, similar to the previous

10   “identification,” lacked all of the extraordinarily common procedural safeguards accompanying

11   photographic identifications. Rather, an FBI agent simply emailed CHP Officer Simas and

12   attached five photographs. Edelman Decl., Ex. 5. As with the previous “identification,” the FBI

13   report details no standard admonishments about the significance of identifying a suspect, and no

14   discussion about how the photographs were selected. Huffaker stands out in the photographs, as

15   he is the only individual with any facial hair at all -- and the only individual with hair that is not

16   very short. Edelman Decl., Ex 5.

17             In addition, the surrounding circumstances suggest no reliability in the identification.

18   CHP Officer Simas’s response to the photos is memorialized in an email, where Simas

19   acknowledges that he has seen press and photographs about Huffaker prior to viewing the

20   photos. Similarly, Simas was working with a CHP Trainee (Baker), who did not identify

21   Huffaker as being present. Edelman Decl., Ex. 6. The government has not produced any

22   evidence that the alleged victim of the stop identified Huffaker as being present at the stop.

23   IV.       CONCLUSION

24             For the reasons stated above, the non-Tatum identifications of Huffaker should be

25   suppressed as well as any derivative in-court identifications.

26   //

27   //

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 1   DATED: April 29, 2024              By:    /s/ William J. Edelman

 2                                      WILLIAM J. EDELMAN
                                        Attorney for Defendant Joseph Huffaker
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